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FORM 1.997. CIVIL COVER SHEET

The civil cover sheet and the information contained in it neither replace nor supplement the filing
and service of pleadings or other documents as required by law. This form must be filed by the
plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
to section 25.075, Florida Statutes. (See instructions for completion.)

I. CASE STYLE

IN THE CIRCUIT/COUNTY COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT,
IN AND FOR BROWARD COUNTY, FLORIDA

David Kanen

Plaintiff Case #
Judge
vs.
BBO Holdings, Inc. d/b/a Famous Dave's of America
Defendant

Il. AMOUNT OF CLAIM
Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
the claim is requested for data collection and clerical processing purposes only. The amount of the claim
shall not be used for any other purpose.

[J $8,000 or less

CL] $8,001 - $30,000
C] $30,001- $50,000
$50,001- $75,000
(] $75,001 - $100,000
CL] over $100,000.00

UI. TYPEOFCASE _ (ifthe case fits more than one type of case, select the most
definitive category.) If the most descriptive label is a subcategory (is indented under a broader
category), place an x on both the main category and subcategory lines.

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Case 9:23-cv-81489-XXXX Document 1-3 Entered on FLSD Docket 11/15/2023 Page 2 of 26

CIRCUIT CIVIL

C Condominium
© Contracts and indebtedness
C1 Eminent domain
O Auto negligence
0 Negligence—other
© Business governance
© Business torts
O Environmental/Toxic tort
O Third party indemnification
O Construction defect
O Mass tort
2 Negligent security
CO Nursing home negligence
C Premises liability—commercial
C Premises liability—residential
OC Products liability
2 Real Property/Mortgage foreclosure
© Commercial foreclosure
€ Homestead residential foreclosure
C] Non-homestead residential foreclosure
C Other real property actions

Professional malpractice
Malpractice—business
2 Malpractice—medical
CO Malpractice—other professional
O Other
O Antitrust/Trade regulation
C Business transactions
0 Constitutional challenge—statute or ordinance
C Constitutional challenge—proposed amendment
2 Corporate trusts
4 Discrimination—employment or other
C Insurance claims
2 Intellectual property
C Libel/Slander
2 Shareholder derivative action
C Securities litigation
CO Trade secrets
O Trust litigation

COUNTY CIVIL

C] Small Claims up to $8,000
CO Civil
C] Real property/Mortgage foreclosure
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CJ Replevins
XC Evictions

[] Residential Evictions

[C] Non-residential Evictions
C) Other civil (non-monetary)

COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes 1 No

IV. REMEDIES SOUGHT (check all that apply):
Monetary;

C1 Nonmonetary declaratory or injunctive relief;

C] Punitive

V. NUMBER OF CAUSES OF ACTION: [ ]
(Specify)

7

Vi. IS THIS CASE A CLASS ACTION LAWSUIT?
Cl yes
no

Vil. HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
no
Cl yes If “yes,” list all related cases by name, case number, and court.

VIL. IS JURY TRIAL DEMANDED IN COMPLAINT?
C] yes
X no

IX. DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
C) yes
no

I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
my knowledge and belief, and that I have read and will comply with the requirements of
Florida Rule of Judicial Administration 2.425.

Signature: s/ Coren Harris Stern Fla. Bar # 644218
Attorney or party (Bar # if attorney)
Coren Harris Stern 10/06/2023
(type or print name) Date

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IN THE CIRCUIT COURT OF THE 17%
JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA

DAVID KANEN,
Case No.:

Plaintiff,
Vv. Division: 03
BBQ HOLDINGS, INC. d/b/a FAMOUS
DAVE’S OF AMERICA, INC.,

Defendant.

/
COMPLAINT

Plaintiff, DAVID KANEN (“Kanen” or Plaintiff), by and through undersigned
counsel, files this Complaint against Defendant, BBQ HOLDIN GS, INC. d/b/a FAMOUS
DAVE’S OF AMERICA, INC. (“Famous Dave’s” or “Defendant’), and alleges as follows:

PARTIES, JURISDICTION, AND VENUE

1. This is an action for breach of contract, conversion, negligence, fraudulent
inducement, and negligent misrepresentation, in which the Plaintiff is seeking damages in excess
of $50,000, exclusive of interest, costs, and attorneys’ fees.

2. This Court has personal jurisdiction over Famous Dave’s under Fla. Stat.
§§ 48.193 as Famous Dave’s operates, conducts, engages in, and carries on a business or business
weniite in the State of Florida. Famous Dave’s is also alleged to have committed tortious acts
within the State of Florida that injured Plaintiff.

3. Venue is proper in Broward County, Florida pursuant to §§ 47.11 and
47.051 as the causes of action accrued in Broward County, Florida, where Kanen resides and where
Plaintiff suffered injury as a result of the acts alleged.

4, Kanen is an individual and a resident of Broward County, Florida.

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5. Famous Dave’s is a foreign for-profit corporation conducting business in
Florida. Its principal address is 2017 Elk Sprig Drive, Brandon, Florida 33511. Famous Dave’s
operated a restaurant in the State of Florida during the relevant time period as set forth in the
allegations below. During the time period at issue, Famous Dave’s was a publicly held corporation
trading on the NASDAQ.

FACTS COMMON TO ALL CLAIMS

6. In October 2018, Kanen was appointed to the board of directors of Famous
Dave’s. He also served for a number of years as Defendant’s non-executive chairman.

7. On February 15, 2019, Famous Dave’s granted Kanen 40,000 options to
purchase shares of its common stock at an exercise price equal to the closing price as of the same
date. The options had a term of ten years and were to vest in equal monthly installments over the
two years following the date of the grant.

8. In connection with the granting of the options, Defendant executed and sent
to Kanen a document titled “Written Action in Lieu of a Meeting of the Compensation Committee
of the Board of Directors of Famous Dave’s of America, Inc.” (the “Written Action”). See Exhibit
A.

9. The Written Action specifically stated that the term of the options in
question was ten years and that the options would vest in equal monthly installments over a two-
year period. The Written Action made no mention of any alternative expiration dates and did not
have any other documents attached. No other documents were provided to Kanen at such time
regarding the grant of said options.

10. On February 20, 2019, counsel for Famous Dave’s emailed Kanen, asking
him to review and authorize a form required by the United States Securities and Exchange

Commission (the “SEC”), which disclosed changes in the beneficial ownership of securities. This

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form stated (in line with the Written Action) that Kanen had been granted the option to purchase
40,000 shares of Famous Dave’s Stock at an exercise price equal to the closing price as of the same
date.! See Exhibit B. This form also specifically stated that the expiration date for the options in
question was February 15, 2029, exactly ten years from the date of the Written Action. See id.
The form made no mention of any alternative expiration date. See id. Relying on the
representations made by Famous Dave’s counsel, and on the Written Action, Kanen executed the
form in question, which was filed with the SEC.

11. In further reliance upon the Written Action, Kanen remained on the board
and worked for and to the benefit of Famous Dave’s until May 2, 2021, at which time he voluntarily
resigned. During such time, the options in question vested pursuant to the Written Action.

12. Onor about July 29, 2022, Kanen contacted Defendant’s CEO, Jeff Crivello
(“Crivello”) about the options in question, with the intention of exercising them. Crivello
responded that he would get back to Kanen and made no mention of any expiration of the options.
Eventually, Kanen was told that his options had expired one year from the date of his resignation
pursuant to a policy that was never previously disclosed nor agreed to by him, and that Defendant
would not honor them nor allow Kanen to avail himself of the benefit of the Written Action and
the options.

13. _Kanen was never made aware of and did not agree to any expiration date
other than the ten-year expiration date contained in the Written Action and referenced in the SEC
form. He did not sign any contract to such effect and never agreed to any such terms. He was

never sent any contract nor agreement that would serve to vary the terms of his option grant from

1 This form specifically stated that the exercise price was $4.81 per share.
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those expressed in the Written Action and confirmed in the SEC form drafted and filed by Famous
Dave’s.

14. | Kanen has demanded that Famous Dave’s honor his options, which are not
expired and constitute property owned by him. Famous Dave’s has failed and/or refused to do so
to date.

COUNT I —- BREACH OF CONTRACT

15. Plaintiff realleges and incorporates the allegations of Paragraphs 1 through
14 as if fully set forth herein.

16. | The Written Action constitutes a contract, pursuant to which Defendant
agreed, for the ten-year time period commencing on February 15, 2019, to sell 40,000 shares of its
stock to Kaneen at the agreed upon price of $4.81.

17. Kanen agreed to the terms of the Written Action and signified his agreement
by serving as a director for Defendant for the two-year time period following the option grant.
Kanen also signified his agreement to the terms of the Written Action by signing the SEC form
attached to this Complaint as Exhibit B.

18... At no point was Kanen made aware of, nor did he agree to, any provision
altering the expiration provision for the options in question.

19. By failing and/or refusing to honor the terms of the Written Action,
Defendant has breached the contract between the parties.

20. Had Defendant not failed and/or refused to honor the terms of the agreement

between the parties, Kanen would have exercised his options on or about August 11, 2022 and/or
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August 17, 2022”, earning a profit of approximately $500,000.00. Alternatively, even if Kanen
had exercised the options and continued to hold the underlying stock, Defendant was sold to MTY
Food Group Inc. on or about September 28, 2022, and Kanen would have received $17.25 for each
of his shares, which would have resulted in a similar profit.
21. Accordingly, as a direct and proximate cause of Defendant’s’ actions,

Plaintiff has sustained losses of approximately $500,000.00, not including interest and lost
opportunity costs.

WHEREFORE, Plaintiff, DAVID KANEN, respectfully requests that this Court enter a
final judgment against Defendant for damages, costs, pre-judgment interest, and such other and
further relief as this Court deems just, equitable, and proper.

COUNT II —- CONVERSION

22. ‘Plaintiff realleges and incorporates the allegations of Paragraphs | through
14 as if fully set forth herein.

23. On or about February 15, 2019, Defendant granted to Kanen 40,000 options
to purchase its shares.

24. An option is a derivative security and constitutes a form of property under
Florida law: Kanen became fully vested in his ownership of the options in question on or about
February 15, 2021.

25. Defendants, in refusing to honor Kanen’s options and in wrongfully
declaring them expired, have deprived Kanen of his property, which pursuant to the agreement

between the parties, still exist in unexpired form.

? Kanen owns and operates Kanen Wealth Management LLC, an SEC-registered investment adviser. Kanen sold
substantially all of his clients’ shares (including his own) in Famous Dave’s stock on August 11, 022 and August 17,
2022, for prices ranging from $17.10 to $17.12 per share.

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26. But for Defendant’s wrongful deprivation of Kanen’s property, Kanen
would have exercised his options on or about August 11, 2022 and/or August 17, 20223, and would
have eared a profit of approximately $500,000.00. Alternatively, even if Kanen had exercised
the options and continued to hold the underlying stock, Defendant was sold to MTY Food Group
Inc. on or about September 28, 2022, and Kanen would have received $17.25 for each of his shares,
resulting in a similar profit.

27. Accordingly, as a direct and proximate cause of Defendant’s’ actions,
Plaintiff has sustained losses of approximately $500,000.00, not including interest and lost
opportunity costs.

WHEREFORE, Plaintiff, DAVID KANEN, respectfully requests that this Court enter a
final judgment against Defendant for damages, costs, pre-judgment interest, and such other and

further relief as this Court deems just, equitable, and proper.

COUNT II - NEGLIGENCE

28. = Plaintiff realleges and incorporates the allegations of paragraphs | through
14 as if fully set forth herein.

29. The Written Action clearly states that the expiration period for the options
in question is ten years. Notwithstanding and without waiving Plaintiff's contention that no
alternative expiration date applies to his options, to the extent that any other terms existed with
respect to the expiration of the options in question, Defendant had a duty to put Kanen on notice

of same.

3 Id.
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30. By failing to notify Kanen of such alternative expiration date, Defendant
made it impossible for Kanen to plan accordingly and possibly exercise his options on or before
May 2, 2022.

31. | Upon information and belief, other recipients of option grants received clear
and unequivocal recitations of all terms, including the above-referenced alternative expiration date.

32. | Kanen received no such disclosure.

33. By failing to make said disclosure, Defendant breached its duty to Kanen.

34. | Had Defendant not breached its duty to disclose all terms to Kanen, he could
have and would have exercised his options prior to May 2, 2022 and would have continued to hold
Defendant’s stock.

35. But for Defendant’s negligence, Kanen would have exercised his options
prior to May 2, 2022 and received 40,000 shares of Defendant’s common stock. Had Kanen sold
his shares on or about August 11, 2022 and/or August 17, 20224, he would have eared a profit of
approximately $500,000.00. Alternatively, even if Kanen had exercised the options and continued
to hold the underlying stock, Defendant was sold to MTY Food Group Inc. on or about September
28, 2022, and Kanen would have received $17.25 for each of his shares, resulting in a similar
profit.

36. Accordingly, as a direct and proximate cause of Defendant’s’ negligence,
Plaintiff has sustained losses of approximately $500,000.00, not including interest and lost

opportunity costs.

‘Id.
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WHEREFORE, Plaintiff, DAVID KANEN, respectfully requests that this Court enter a
final judgment against Defendant for damages, costs, pre-judgment interest, and such other and
further relief as this Court deems just, equitable, and proper.

COUNT IV — FRAUD

37. Plaintiff realleges and incorporates the allegations of paragraphs 1 through
14 as if fully set forth herein.

38. The Written Action clearly states that the expiration period for the options
in question is ten years. Notwithstanding and without waiving Plaintiff's contention that no
alternative expiration date applies to the options in question, to the extent that any other terms
existed, Defendant had a duty to put Kanen on notice of same.

39. If such terms existed, they would have been material and important with
respect to the manner in which Kanen would handle his options and when he would or would not
choose to exercise same. Defendant purposefully withheld such information from Kanen.

40. This information was not known by nor readily discernible to Kanen.

41. .. Had Defendant disclosed all terms to Kanen, including the alternative
expiration date that Defendant alleged existed with respect to the options in question, Kanen would
have exercised his options prior to May 2, 2022, and would have earned a profit of approximately
$500,000.00.

42. Accordingly, as a direct and proximate cause of Defendant’s’ actions,
Plaintiff has sustained losses of approximately $500,000.00, not including interest and lost
opportunity costs.

WHEREFORE, Plaintiff, DAVID KANEN, respectfully requests that this Court enter a
final judgment against Defendant for damages, costs, pre-judgment interest, and such other and

further relief as this Court deems just, equitable, and proper.
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COUNT V — NEGLIGENT MISREPRESENTATION

43. Plaintiff realleges and incorporates the allegations of paragraphs 1 through
14 as if fully set forth herein.

44. The Written Action clearly states that the expiration period for the options
in question is ten years. Notwithstanding and without waiving Plaintiff's contention that no
alternative expiration date applies to the options in question, to the extent that any other terms
existed, Defendant had a duty to put Kanen on notice of same.

45. Despite knowing that such terms existed and would be material and
important with respect to the manner in which Kanen would handle his options and when he would
or would not choose to exercise same, Defendant negligently failed to provide such information to
Kanen.

46. This information was not known by nor readily discernible to Kanen.

47. Had Defendant disclosed all terms to Kanen, including the alternative
expiration date that Defendant alleged existed with respect to the options in question, Kanen would
have exercised his options prior to May 2, 2022, and would have earned a profit of approximately
$500,000.00.

48. Accordingly, as a direct and proximate cause of Defendant’s’ actions,
Plaintiff has sustained losses of approximately $500,000.00, not including interest and lost
opportunity costs.

WHEREFORE, Plaintiff, DAVID KANEN, respectfully requests that this Court enter a
final judgment against Defendant for damages, costs, pre-judgment interest, and such other and

further relief as this Court deems just, equitable, and proper.
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COUNT VI-— PROMISSORY ESTOPPEL

49. Plaintiff realleges and incorporates the allegations of paragraphs 1 through
14 as if fully set forth herein.

50. In granting the options in question to Kanen, and in promising that he would
have ten years to exercise them at a strike price of $4.81, Defendant sought to and did induce
Kanen to serve as a director for at least two years.

51. | Kanen served as a director for more than the requisite two. years, fully
vesting in his ownership of the options in question.

52. At no point did Defendant notify Kanen of any possible expiration of his
options, other than the ten-year time period stated in the Written Action and in the SEC form
provided by Defendant to Kanen and filed by Defendant with the SEC.

53. It would be unjust for Defendant to avoid the performance of its promise to
Kanen, as Defendant should have and -did reasonably foresee that its actions would induce Kanen
to provide his expertise, advice, and labor for the requisite minimum two-year vesting period.

54. . Accordingly, as a direct and proximate cause of Defendant’s’ actions,
Plaintiff has sustained losses of approximately $500,000.00, not including interest and lost
opportunity costs.

WHEREFORE, Plaintiff, DAVID KANEN, respectfully requests that this Court enter a
final judgment against Defendant for damages, costs, pre-judgment interest, and such other and
further relief as this Court deems just, equitable, and proper.

COUNT Vil — UNJUST ENRICHMENT

55. Plaintiff realleges and incorporates the allegations of paragraphs 1 through

14 as if fully set forth herein.

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56. | Kanen provided services to Defendant by virtue of his services as a director
of Defendant and in reliance upon the Written Action and the SEC form provided to and executed
by him.

57. Defendant had knowledge of such services provided by Kanen, as
evidenced by the Written Action and the conveyance of the options in question. In fact, the Written
Action specifically acknowledged Kanen’s service on the board of directors. Defendant also had
knowledge of the services provided by Kanen for the years following the granting of the options
and the Written Action.

58. Defendant voluntarily accepted the benefit of Kanen’s services to it for the
years following the granting of the options.

59. It would be inequitable for Defendant to retain the value of Kanen’s services
without paying the value thereof.

WHEREFORE, Plaintiff, DAVID: KANEN, respectfully requests that this Court enter a
final judgment against Defendant for damages, costs, pre-judgment interest, and such other and
further relief as this Court deems just, equitable, and proper.

Dated: October 6, 2023. ZINOBER, DIANA & MONTEVERDE, P.A.

/s/ Coren H. Stern

Coren H. Stern, Esq.

Florida Bar No.: 644218

Counsel for Plaintiff David Kanen

2400 Commercial Blvd., Suite 420

Fort Lauderdale, FL 33308

Phone: 954.256.9288

Fax: 727.498.8902

Email: Corey@zinoberdiana.com
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IN THE CIRCUIT COURT OF THE 17%
JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA

DAVID KANEN,
Case No.

Plaintiff,
v. Division: 03
BBQ HOLDINGS, INC. d/b/a FAMOUS
DAVE’S OF AMERICA, INC.,

Defendant.

/
COMPLAINT

EXHIBIT A.
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WRITTEN ACTION IN LIEU OF
A MEETING OF THE COMPENSATION COMMITTEE OF
THE BOARD OF DIRECTORS
OF
FAMOUS DAVE’S OF AMERICA, INC.

Effective February 15, 2019

The undersigned, being all or a majority of the members of the Compensation Committee
(the “Committee”’) of the Board of Directors (the “Board”) of Famous Dave’s of America, Inc.
(the “Corporation”), in accordance with Scction 302A.239 of the Minnesota Business
Corporation Act, do hereby take and adopt the following resolutions:

Approval of Stock Option Grant to David Kanen

WHEREAS, in accordance with the Corporation’s appointment of David Kanen as the
chairman of the Board, the Committee has determined it to be in the best interest of the Corporation
to grant options to purchase 40,000 shares of the Corporation’s common stock to Mr. Kanen (the
“Option Grant’’) pursuant to the Corporation’s standard form of director option agreement (the
“Option Agreement”):

NOW, THEREFORE, BE IT

RESOLVED, that the Committee approves the Option Grant effective as of the date set
forth above, al an exercise price equal to the closing price of the Corporation’s stock as of
such effective date as reported:on the NASDAQ Stock Market, a term of ten years and with
vesting in equal monthly installments over two years;

RESOLVED FURTHER, that the officers of the Corporation, and each of them, are
hereby authorized, for and on behalf of the Corporation, to execute and deliver the Option
Agrecment;

RESOLVED FURTHER, that 40,000 shares of common stock will be reserved for
issuance under the Option Agreement;

RESOLVED FURTHER, that upon proper exercise of the Option Grant, including receipt
by the Corporation of the exercise price therefor, the shares of the Corporation’s common
stock issued upon such exercise shall be fully paid and non-assessable; and

RESOLVED FURTHER, that the officers of the Corporation, and each of them, are
hereby authorized, for and on behalf of the Corporation, to take such action as they, or any
of them, may deem necessary or advisable to carry out the purposes of the foregoing
resolutions.

[Signature Page Follows]
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IN WITNESS WHEREOPF, the undersigned have signed this Written Action to be

effective as of the date first written above.
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IN THE CIRCUIT COURT OF THE 17%
JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA

DAVID KANEN,
Case No.

Plaintiff,
v. Division: 03
BBQ HOLDINGS, INC. d/b/a FAMOUS
DAVE’S OF AMERICA, INC.,

Defendant.

/
COMPLAINT

EXHIBIT B
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IN THE CIRCUIT COURT OF THE 17%

JUDICIAL CIRCUIT IN AND FOR

BROWARD COUNTY, FLORIDA
DAVID KANEN,

Plaintiff, CASE NO.:

Vv.

BBQ HOLDINGS, INC. d/b/a FAMOUS
DAVE’S OF AMERICA, INC.,

Defendants,
/

SUMMONS

THE STATE OF FLORIDA:
TO EACH SHERIFF OF THE STATE:

YOU ARE COMMANDED to serve this Summons Complaint in the above-styled action
upon the Defendant:

BBQ HOLDINGS, INC. d/b/a
FAMOUS DAVE’S OF AMERICA, INC.
2017 Elk Spring Drive,

Brandon, Florida 33511

The Defendant is hereby notified that a Complaint has been filed in the above-styled case
and Defendant is to serve written defenses to said Complaint upon Plaintiff's attorney, whose name
and address appears below, within twenty (20) days of service thereof with the Clerk of this Court.

ZINOBER DIANA & MONTEVERDE, P.A. Dated on:
Coren H. Stern, Esq.
Florida Bar No.: 644218
2400 E. Commercial Blvd., Ste. 420
Fort Lauderdale, Fl 33308
Phone: 954-256-9288
Fax: 727-498-8902 By:
Email: Corey@zinoberdiana.com As Deputy Clerk
Miguel@zinoberdiana.com
Daniela@zinoberdiana.com

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IN THE CIRCUIT COURT OF THE 17%

JUDICIAL CIRCUIT IN AND FOR

BROWARD COUNTY, FLORIDA
DAVID KANEN,

Plaintiff, CASE NO.: 2023-CA-019356

Vv.

BBQ HOLDINGS, INC. d/b/a FAMOUS
DAVE’S OF AMERICA, INC.,

Defendants,
/

SUMMONS

THE STATE OF FLORIDA:
TO EACH SHERIFF OF THE STATE:

YOU ARE COMMANDED to serve this Summons Complaint in the above-styled action
upon the Defendant:

BBQ HOLDINGS, INC. d/b/a
FAMOUS DAVE’S OF AMERICA, INC.
2017 Elk Spring Drive,

Brandon, Florida 33511

The Defendant is hereby notified that a Complaint has been filed in the above-styled case
and Defendant is to serve written defenses to said Complaint upon Plaintiff's attorney, whose name
and address appears below, within twenty (20) days of service thereof with the Clerk of this Court.

OCT 19 2023

ZINOBER DIANA & MONTEVERDE, P.A. Dated on:

Coren H. Stern, Esq.

Florida Bar No.: 644218

2400 E. Commercial Blvd., Ste. 420

Fort Lauderdale, Fl 33308

Phone: 954-256-9288

Fax: 727-498-8902 By:

Email: Corey@zinoberdiana.com As Deputy Clerk
Miguel@zinoberdiana.com
Daniela@zinoberdiana.com

BRENDA D. FORMAN

#£e ETT ED: RBOUIARD COTINTV FT RRENTYA TD FORMAN CT ERK 10/10/9092 11-A6-21 ANA HEHE
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IN THE CIRCUIT COURT OF THE 17%
JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA
DAVID KANEN, CIVIL DIVISION
Plaintiff, CASE NO.: 2023-CA-019356

Vv.

BBQ HOLDING, INC. d/b/a FAMOUS
DAVE’S OF AMERICA, INC.

Defendant.

/

PLAINTIFF’S NOTICE OF FILING VERIFIED RETURN OF SERVICE

Plaintiff, DAVID KANEN, by and through its undersigned counsel, hereby gives notice of
filing the attached Verified Retur of Service for the Complaint served upon Defendant, BBQ

HOLDING, INC. d/b/a FAMOUS DAVE’S OF AMERICA, INC., on October 26, 2023.

CERTIFICATE OF SERVICE
WE HEREBY CERTIFY that, on this 318t day of October, 2023, a complete copy of the

foregoing has been served via email on all parties listed on the Florida Courts E-Filing Portal.

ZINOBER, DIANA &MONTEVERDE, P.A.

/s/ Coren H. Stern

Michael A Monteverde, Esq.

Florida Bar No.: 644218

Attorneys for Plaintiff

2400 E. Commercial Blvd, Suite 420
Fort Lauderdale, FL 33308

Phone: 954-256-9288

Fax: 727-498-8902

Page I of 2
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Case 9:23-cv-81489-XXXX Document 1-3 Entered on FLSD Docket 11/15/2023 Page 24 of 26
Case No.: 2023-CA-019356

Email: Corey@zinoberdiana.com
Mieuel@zinoberdiana.com
Daniela@zinoberdiana.com

Page 2 of 2
Case 9:23-cv-81489-XXXX Document 1-3 Entered on FLSD Docket 11/15/2023 Page 25 of 26

VERIFIED RETURN OF SERVICE Job # 341146

Client Info:

ZINOBER DIANA & MONTEVERDE, P.A.
Coren H. Stem, Esq.

2400 E. COMMERCIAL BLVD., SUITE 420
FORT LAUDERDALE, FL 33308

Case Info:

PLAINTIFF: CIRCUIT COURT

DAVID KANEN Court Division: CIVIL
“versus- County of Broward, Florida

DEFENDANTS: Court Case # 2023-CA-019356

BBQ HOLDINGS, INC. d/b/a FAMOUS
DAVE'S OF AMERICA, INC.

Service Info:

Date Received: 10/20/2023 at 02:21 PM

Service: I Served BBQ HOLDINGS, INC. d/b/a FAMOUS DAVE'S OF AMERICA, INC,
With: SUMMONS; CIVIL COVER SHEET; COMPLAINT; EXHIBITS A & B

by leaving with Dave Branscomb, EMPLOYEE-AUTHORIZED TO ACCEPT

At Residence 2017 ELK SPRING DRIVE BRANDON, FL 33511
Latitude: 27.903107, Longitude: -82.323425

On 10/26/2023 at 12:29 PM

Manner of Service: CORPORATE
CORPORATE SERVICE: F.S. 48.081 (1)(aXbXc){d), (2) or (3)

Served Description: (Approx)
Age: 60, Sex: Male, Race: White-Caucasian, Height: 6' 3", Weight: 210, Hair: Gray Glasses: No

I Ruby Thomas acknowledge that J am authorized to. serve process, in good standing in the jurisdiction wherein the process was
served and I have no interest in the above action. Under penalties of perjury, I declare that I have read the foregoing document and
that the facts stated in it are true. FS.92.525(2).

Ruby Thomas
Lic # CPS#08-752473

CROSS COUNTY INVESTIGATIVE SERVICES
P.O. BOX 245715
PEMBROKE PINES, FL 33024

Client # 88073
Job # 341146

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Case 9:23-cv-81489-XXXX Document 1-3 Ente ET Or RP SiS honttd7P23 Page 26 of 26

DATE: 10/26/2023 TIME: 12:29 PM
MILITARY: NA
MARITAL STATUS: NA

Filing # 184329614 E-Filed 10/19/2023 11:45:32 AM

IN THE CIRCUIT COURT OF THE 17%

JUDICIAL CIRCUIT IN AND FOR

BROWARD COUNTY, FLORIDA
DAVID KANEN,

Plaintiff, CASE NO.: 2023-CA-019356
v.

BBQ HOLDINGS, INC. d/b/a FAMOUS
DAVE’S OF AMERICA, INC.,

Defendants,
l

THE STATE OF FLORIDA:
TO EACH SHERIFF OF THE STATE:

YOU ARE COMMANDED to serve this Summons Complaint in the above-styled action
upon the Defendant:

BBQ HOLDINGS, INC. d/b/a
FAMOUS DAVE’S OF AMERICA, INC.
2017 Elk Spring Drive,

Brandon, Florida 33511

The Defendant is hereby notified that a Complaint has been filed in the above-styled case
and Defendant is to serve written defenses to said Complaint upon Plaintiff's attorney, whose name
and addreas appears below, within twenty (20) days of service thereof with the Clerk of this Court.

OCT 19 2023

ZINOBER DIANA & MONTEVERDE, P.A. Dated on:
Coren H. Stern, Esq.
Florida Bar No.: 644218

2400 E. Commercial Bivd., Ste. 420
Fort Lauderdale, F1 33308

Phone: 954-256-9288

#¢* FILED: BROWARD COUNTY, FL BRENDA D. FORMAN, CLERK 10/19/2023 11:45:31 AM.****

